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                                                               July 5, 2013

                     Via ECF and Email

                     Hon. Charles A. Legge (Ret.)
                     JAMS
                     Two Embarcadero Center, Suite 1500
                     San Francisco, CA 94111

                                  RE: In re CRT Antitrust Litigation, Case No. 07-cv-5944, MDL No. 1917
                                  This Document Relates to: Sharp Electronics Corporation, et al. v. Hitachi, Ltd.,
                                  et aI., Case No. 13-cv-1173

                     Dear Special Master Legge:

                                   We write on behalf of Plaintiffs Sharp Electronics Corporation and Sharp
                     Electronics Manufacturing Company of America, Inc. ("Sharp") to address discovery
                     issues between Thomson Consumer Electronics, Inc. and Sharp. Sharp is ready to
                     conduct discovery, but Thomson Consumer maintains that discovery between Sharp and
                     Thomson Consumer should not occur while its motion to dismiss pends. The parties
                     have been unable to reach agreement despite meeting and conferring_

                     Sharp Enters the Case and Names Thomson Consumer As a Defendant

                                     Sharp files its complaint. Sharp, a major purchaser of cathode ray tubes
                     in the United States, filed a direct action complaint on March 15,2013 relating to the
                     alleged price-fixing conspiracy that is the focus of this multi-district litigation_ At the
                     time Sharp filed its complaint, the court had not certified a class of either direct or
                     indirect purchasers, and opt-out notices had only ever circulated for classes relating to
                     certain settlements.
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                     Sharp named as a defendant Thomson Consumer, a company that sold it
      CRTs in the United States. Thomson Consumer is the wholly owned subsidiary of
      Thomson S.A., a French company that had been named in putative class actions in this
      MDL as early as January of2008 and which was recently fined millions of dollars by the
      EU for participating in the CRT conspiracy. CompI., Case No. 13-cv-1173 (Dkt. 1), at ~
      136. Thomson Consumer had also intervened in the MDL in September 2012, to oppose
      a motion by other Direct Action Plaintiffs who sought to amend their complaints to add
      Thomson Consumer as a defendant. l Despite its familiarity with the underlying MDL,
      Thomson Consumer requested additional time to respond to Sharp's complaint. As a
      courtesy, Sharp agreed.

                      Thomson Consumer files its motion to dismiss. Per that agreement, on
      May 17,2013, Thomson Consumer moved to dismiss Sharp's complaint. (Dkt.30).
      Thomson Consumer's motion largely recycles arguments that this Court has already
      rejected in this MDL. To the extent Thomson Consumer purports to raise any new
      arguments, they are without merit for the reasons described in Sharp's opposition brief.
      (Dkt. 34).

                      As part of their agreement on dates, Sharp and Thomson Consumer had
      decided months ago that the hearing on Thomson Consumer's motion to dismiss should
      occur on July 23, 2013. But on June 25, a group of other defendants petitioned Your
      Honor to postpone the hearing on Thomson Consumer's motion to dismiss so that all
      motions to dismiss relating to Sharp's complaint could be heard and decided at the same
      time. Sharp had indicated that it would be prejudiced by any delay in hearing the motion
      to dismiss, so long as Thomson Consumer maintained its position that it would not
      submit to discovery while the motion to dismiss pended. Following briefing, the hearing
      on Thomson Consumer's motion to dismiss Sharp's complaint was postponed. This
      means that a hearing on any motions to dismiss Sharp's complaint will not occur for at
      least several months, and likely an even longer period of time.

                     Discovery proceeds in the case. Discovery in the MDL has meanwhile
      proceeded for several years, without Sharp and without Thomson Consumer. Since
      joining the MDL, Sharp has acted consistently with the orders governing discovery in the
      case, engaging in best efforts to conduct discovery efficiently and without duplication. It
      has participated meaningfully in deposition discovery and defendants have already served
      Sharp with discovery requests.

                      Sharp has prepared discovery requests for Thomson Consumer that it is
      ready to serve that track requests that have been served on other defendants in the MDL.
      Accordingly, several weeks ago, Sharp alerted Thomson Consumer that it also wished to
      commence discovery against Thomson Consumer. Thomson Consumer, however, stated


         In a Report and Recommendation dated June 29,2013, the DAPs were also granted to
         leave to amend their complaints to include Thomson S.A. and Thomson Consumer.
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      that its position is that all discovery from Sharp is inappropriate so long as the motion to
      dismiss is pending. See Correspondence Attached as Exhibits A, B, C, D, and E. 2

                     Sharp seeks an order from Your Honor setting a schedule for discovery
      with Thomson Consumer to commence immediately, notwithstanding the pendency of
      the motion to dismiss.

      Discovery Between Sharp and Thomson Consumer Should Not Be Stayed During the
      Pendency 0/ Thomson Consumer's Motion to Dismiss

                      Thomson Consumer's position that discovery should be stayed merely
      because it has filed a motion to dismiss is "directly at odds with the need for expeditious
      resolution oflitigation." Gray v. First Winthrop Corp., 133 F.R.D. 39,40 (N.D. Cal.
      1990). "The Federal Rules of Civil Procedure do not provide for an automatic stay of
      discovery pending resolution of a motion to dismiss." In re Valence Tech. Sec. Litig.,
      No. 94-cv-1542, 1994 WL 758688, at *2 (N.D. Cal. Nov. 18, 1994) (Conti, J.).

                       N or can Thomson Consumer make a showing that this is one of the rare
      instances where a stay might be appropriate. Sharp's claim is not "utterly frivolous" or a
      "fishing expedition." Gray, 133 F.R.D. at 40. The Court's ruling in the class cases
      establish that. Moreover, Sharp'S claims against Thomson Consumer far exceed the
      reasonable plausibility standard. The North American market was the world's leading
      market for televisions containing color picture tubes, and Thomson Consumer was the
      U.S. arm of Thomson S.A.-a company recently found guilty of participating in a
      "worldwide" cartel for color picture tubes. European Commission, Antitrust:
      Commission fines producers o/TVand computer monitor tubes £ 1.47 billion/or two
      decade-long cartels (December 5, 2012), available at http://europa.euJrapidipress-
      release_IP-12-1317_en.htm. The EC called the conspiracy one of the "most organised
      cartels that the Commission has investigated."

                      In correspondence, Thomson Consumer has suggested that it is entitled to
      a stay because of other precedent in this case. Not so. To the extent that the Court
      entered a limited stay of discovery in this case years ago, it was at the behest of the
      Department of Justice because of a grand jury investigation, and then based on stipulation
      of the parties before discovery had commenced in earnest. It was also, more importantly,
      prior to any rulings on the sufficiency of the class allegations. The Court has now


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          In a meet and confer, Thomson Consumer offered, as a compromise, to submit only
          objections to document requests served by Sharp, and otherwise to indicate which
          categories documents it would eventually produce. Thomson Consumer maintained,
          however, that it would not actually collect or produce any documents until there was
          a final ruling on its motion to dismiss. Thomson Consumer also excluded from the
          proposal any other forms of discovery, including interrogatories. Sharp could not
          agree to such an inadequate substitute for real discovery.
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      declared the allegations in those class complaints sufficient and the stay has expired by its
      own terms. 3 Discovery has proceeded for years. See, e.g., Case No. 07-5944 (Dkt. 509)
      (June 8, 2009).

      Judicial Efficiency and Fairness Weigh in Favor of Permitting Discovery Between
      Sharp and Thomson Consumer

                     Judicial efficiency favors granting Sharp access to discovery from
      Thomson Consumer now. "In the event [Thomson Consumer's] motion is denied, then
      commencement of the discovery process now, while no doubt imposing a burden on
      defendant, will have already advanced the ultimate disposition of this action in an
      efficient manner beneficial to all involved." In re Valence Tech. Sec. Litig., 1994 WL
      758688, at *2. In the unlikely scenario that Sharp's complaint is somehow deficient,
      permitting discovery now is still efficient, because Sharp "may be granted leave to plead
      anew" and the discovery will not have gone to waste. Id.

                      In a meet and confer, Thomson Consumer suggested that because a
      dismissal of Sharp's complaint on limitations grounds, it maintains, would be "with
      prejudice," a stay is appropriate. But it is not enough that the Court may (or may not)
      grant the motion to dismiss and may (or may not) deny leave to amend such that
      discovery ultimately may (or may not) have been wasted. The mere argument that a stay
      of discovery would "promote efficiency" and "avoid[] costly discovery" "does not
      constitute the showing of particular and specific need required" in order to obtain a stay
      of discovery. Rheumatology Diagnostics Lab., Inc. v. Aetna, Inc., No. 12-cv-5847, 2013
      U.S. Dist. LEXIS 61848 at *7 (N.D. Cal. Apr. 29, 2013) (internal quotations omitted).
      Rather, the court must be "convinced that the plaintiff will be unable to state [a] claim for
      relief." Gleason v. Cheskaty, 94-cv-0066, 1995 WL 560139, at *7 (D. Idaho June 22,
      1995) (quoting Wood v. McEwen, 644 F.2d 797,801 (9th Cir. 1981)); accord Baker v.
      Ark. Blue Cross, 08-cv-3974, 2009 WL 904150 at *1 (N.D. Cal. 2009) (denying stay of
      discovery where it was "not clear that Plaintiffs will fail to state a claim") (citing Wood,
      644 F.2d at 801)). There can be no such certainty here. In order to prevail on its
      limitations argument, Thomson Consumer must show that at least two of three well-
      establishing tolling doctrines fail to apply, contravening previous rulings of this Court.
      Moreover, as Sharp noted in its opposition to Thomson Consumer's motion to dismiss,
      discovery even into the limitations argument would be appropriate to determine when
      Thomson Consumer had notice ofthe claims in the CRT litigations. See Cardenas v.
      Miller-Stout, No. 11-cv-5117, 2012 WL 2872130, at *4 (E.D. Wash. July 12,2012)
      (denying stay of discovery where "additional discovery appears necessary to resolve
      lingering questions" related to a motion to dismiss on statute oflimitations grounds).

                    Sharp certainly would be prejudiced if it were unable to obtain any
      discovery from Thomson Consumer pending a decision on its motion to dismiss. See
      3
          The last limited stay of discovery was entered on October 27,2010. Case No. 07-
          5944 (Dkt. 798).
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      aMG Fidelity, Inc. v. Sirius Techs., Inc., 239 F.R.D. 300, 304-05 (N.D.N.Y. 2006) ("The
      court must also consider any unfair prejudice which may be suffered by the party seeking
      to engage in discovery during the pendency of the dismissal motion." (citation omitted)).
      As noted above, Thomson Consumer has yet to produce any discovery in this litigation.
      Sharp needs information from Thomson Consumer not just to establish the extent of
      Thomson Consumer's participation in the conspiracy, but also to prosecute Sharp's
      claims against the other defendants including through, for example, expert reports that
      may require data from each defendant.

                     Deadlines have been set in this case which should be achievable, provided
      that discovery proceeds without delay or barring unforeseen obstacles. But if discovery
      is delayed the many months it would likely take to decide the motion to dismiss Sharp's
      complaint (including any review of the report and recommendation to Judge Conti),
      Sharp certainly will not be able to adequately establish its case in order to meet the case
      deadlines.

                   We accordingly ask that this Court order that discovery between Thomson
      Consumer and Sharp may commence immediately, notwithstanding the pendency of
      Thomson Consumer's motion to dismiss.


                                                 Respectfully submitted,

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                                                 Craig A. ~enson


      Attachments

      cc: Counsel for Thomson Consumer
